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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

CHRISTINA CRAWFORD,

       Plaintiff,                                 Case No. 2:25-cv-11746

-vs-                                              Hon.

MAGNA ELECTRONICS, INC.,

       Defendant.

_______________________________________________________________
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                      COMPLAINT AND JURY DEMAND

       Plaintiff Christina Crawford, by and through her attorneys, Marko Law,

PLLC, states for her Complaint against Defendant Magna Electronics, Inc., as

follows:

                    PARTIES, JURISDICTION, AND VENUE

       1. Plaintiff Christina Crawford is a resident of Macomb County, Michigan.




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   2. Defendant Magna Electronics, Inc. is a foreign profit corporation doing

business in the Eastern District of Michigan, with a principal place of business

located at 2050 Auburn Road, Auburn Hills, Michigan 48326.

   3. This Court has jurisdiction pursuant to 28 U.S.C. § 1331, as this case arises

under the Americans with Disabilities Act of 1990, as amended, 42 U.S.C. §

12101 et seq. (“ADA”), and the Family and Medical Leave Act, 29 U.S.C. § 2601

et seq. (“FMLA”).

   4. This Court has supplemental jurisdiction over Plaintiff’s related state law

claims under the Michigan Persons with Disabilities Civil Rights Act

(“PWDCRA”), MCL § 37.1101 et seq., pursuant to 28 U.S.C. § 1367.

   5. Venue is proper in this Court pursuant to 28 U.S.C. § 1391 because the

unlawful employment practices occurred within the Eastern District of Michigan.

                         GENERAL ALLEGATIONS

   6. Plaintiff was hired by Defendant in or around October 1, 2011 and remained

employed until August 7, 2024.

   7. In 2017, Plaintiff was involved in a car accident and subsequently

developed severe and chronic back pain, which later required a spinal cord

stimulator and follow-up surgical procedures, including a revision and treatment

for infection in 2024.




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   8. Plaintiff also suffers from pseudotumor cerebri, which has caused

fluctuating hearing loss and severe high-frequency tinnitus.

   9. Plaintiff’s medical conditions constitute disabilities under the ADA and

PWDCRA, and she was regarded as and had a record of being disabled.

   10. Despite these impairments, Plaintiff was qualified to perform the essential

functions of her position with or without reasonable accommodation.

   11. In May 2022, Defendant offered Plaintiff a lateral transfer to the position

of Immigration and Global Mobility Specialist, which Plaintiff accepted and

began on July 5, 2022.

   12. On or about May 1, 2023 through June 25, 2023, Plaintiff requested

protected leave under the Family Medical Leave Act for mental health and

depression.

   13. During this leave, Defendant hired an employee to replace Plaintiff.

   14. Upon Plaintiff’s return to work from protected leave, Defendant retaliated

against her for taking leave by stripping the majority of her job duties.

   15. In June 2023, Plaintiff requested a reasonable accommodation to work

from home due to her tinnitus and hearing loss, supported by medical

documentation from her audiologist.




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   16. Defendant responded by restricting Plaintiff’s job duties, prohibiting her

from speaking with employees or immigration attorneys, and subjecting her to

unwarranted scrutiny.

   17. On June 28, 2023, Plaintiff was placed on an Improvement Action Plan,

falsely accusing her of performance issues and poor collaboration, despite a

documented record of success and a recent commendation on August 16, 2023.

   18. In October 2023, Plaintiff submitted an internal complaint regarding a

hostile work environment, denial of promised compensation, and retaliation

related to her disability and protected activity.

   19. After Plaintiff went on FMLA leave in May 2024 due to complications

from her spinal cord stimulator, her job responsibilities were stripped, and her role

was posted and later changed to a Lead position, for which she was not considered.

   20. Plaintiff was terminated on August 7, 2024, and offered a severance

package of $29,376.

   21. Plaintiff filed a charge with the EEOC on November 22, 2024, and

received a Right to Sue letter on March 31, 2025.

                  COUNT I – DISABILITY DISCRIMINATION
                            (ADA and PWDCRA)

   22. Plaintiff incorporates all preceding paragraphs.

   23. Plaintiff has a disability, has a record of such disability, and/or was

regarded as disabled.

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   24. Defendant failed to reasonably accommodate Plaintiff’s disability,

including her request to work from home.

   25. Defendant took adverse actions against Plaintiff, including subjecting her

to a performance improvement plan, restricting her job duties, and ultimately

terminating her because of her disability and/or need for accommodation.

   26. Defendant’s conduct constitutes unlawful disability discrimination in

violation of the ADA and PWDCRA.

              COUNT II – FAILURE TO ACCOMMODATE
                        (ADA and PWDCRA)

   27. Plaintiff restates the preceding paragraphs.

   28. Plaintiff requested reasonable accommodations in good faith.

   29. Defendant failed to engage in the interactive process and failed to provide

reasonable accommodations, such as working from home or access to training to

assist with her communication challenges.

   30. Defendant’s actions violate the ADA and PWDCRA.

                       COUNT III – RETALIATION
                      (ADA, PWDCRA, and Title VII)

   31. Plaintiff restates the preceding paragraphs.

   32. Plaintiff   engaged   in    protected    activity   when   she   requested

accommodations and complained about disability discrimination and retaliation.




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   33. Defendant retaliated against Plaintiff by increasing supervision, issuing a

performance improvement plan, stripping job duties, and terminating her.

   34. Defendant’s actions were in direct retaliation for Plaintiff’s protected

activity and violate the ADA, PWDCRA, and Title VII.

           COUNT IV – HOSTILE WORK ENVIRONMENT
                       (ADA and PWDCRA)

   35. Plaintiff restates the preceding paragraphs.

   36. Plaintiff was subjected to severe or pervasive conduct that created a hostile

and abusive work environment based on her disability and requests for

accommodation.

   37. Defendant failed to prevent or remedy the hostile work environment

despite Plaintiff’s internal complaints.

   38. Defendant’s actions violate the ADA and PWDCRA.

                   COUNT V – FMLA INTERFERENCE
                          (29 U.S.C. § 2615)

   39. Plaintiff restates the preceding paragraphs.

   40. Plaintiff was entitled to protected leave under the FMLA.

   41. Defendant interfered with Plaintiff’s right to take protected leave by

demoting her, removing duties, posting her position, and failing to restore her to

an equivalent position.

   42. Defendant’s conduct constitutes FMLA interference.


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                     COUNT VI – FMLA RETALIATION
                            (29 U.S.C. § 2615)

     43. Plaintiff restates the preceding paragraphs.

     44. Plaintiff engaged in protected activity under the FMLA by taking leave

  related to her serious health condition.

     45. Defendant retaliated against Plaintiff for exercising her FMLA rights by

  demoting her, excluding her from communications, and terminating her

  employment.

                             RELIEF REQUESTED

      WHEREFORE, Plaintiff respectfully requests that this Honorable Court

enter judgment in her favor and against Defendant and award the following relief:

      A. Economic damages including lost wages and benefits;

      B. Compensatory damages for emotional distress, humiliation, and mental

      anguish;

      C. Liquidated damages under the FMLA;

      D. Punitive damages under federal law;

      E. Attorneys’ fees and costs under 42 U.S.C. § 12205 and other applicable

      laws;

      F. Pre-judgment and post-judgment interest;

      G. Reinstatement or front pay;

      H. Any other relief the Court deems just and proper.

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                          DEMAND FOR JURY TRIAL

       Plaintiff hereby demands a trial by jury in this matter.



                                               Respectfully submitted,

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